

Matter of Bruno v Martuscello (2025 NY Slip Op 02259)





Matter of Bruno v Martuscello


2025 NY Slip Op 02259


Decided on April 17, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 17, 2025

CV-24-2007
[*1]In the Matter of Antonio Bruno, Petitioner,
vDaniel F. Martuscello III, as Commissioner of Corrections and Community Supervision, et al., Respondents.

Calendar Date:March 21, 2025

Before:Egan Jr., J.P., Clark, Aarons, Ceresia and McShan, JJ.

Antonio Bruno, Coxsackie, petitioner pro se.
Letitia James, Attorney General, Albany (Kate H. Nepveu of counsel), for respondents.



Proceeding pursuant to CPLR article 78 (transferred to this Court by order of the Supreme Court, entered in Ulster County) to review a determination of respondent Commissioner of Corrections and Community Supervision finding petitioner guilty of violating certain prison disciplinary rules.
Petitioner commenced this CPLR article 78 proceeding to challenge a tier III disciplinary hearing finding that he had violated certain prison disciplinary rules. The Attorney General has advised this Court that the determination at issue has been administratively reversed, all references thereto have been expunged from petitioner's institutional record and the mandatory $5 surcharge has been refunded to petitioner's account. In view of this, and given that petitioner has received all of the relief to which he is entitled, the petition is dismissed as moot (see Matter of Joseph v Annucci, 230 AD3d 846, 846 [3d Dept 2024]; Matter of Nipitella v Annucci, 228 AD3d 1217, 1217 [3d Dept 2024]). As the record reflects that petitioner paid a reduced filing fee of $15, and he has requested reimbursement thereof, we grant petitioner's request and direct respondents to reimburse him that amount (see Matter of Engles v Rodriguez, 229 AD3d 1030, 1030 [3d Dept 2024]).
Egan Jr., J.P., Clark, Aarons, Ceresia and McShan, JJ., concur.
ADJUDGED that the petition is dismissed, as moot, without costs, but with disbursements in the amount of $15.








